      Case 1:21-cv-04783-TWT-JSA Document 1 Filed 11/19/21 Page 1 of 9




                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

CARTER B. EDGE,                     *
                                    *
     Plaintiff,                     *
                                    *
v.                                  *     CIVIL ACTION NO.
                                    *
NORTH AMERICAN ELECTRIC             *     1:21-CV-04783-TWT-AJB
RELIABILITY CORPORATION,            *
                                    *
     Defendant.                     *     JURY TRIAL DEMAND

                                COMPLAINT

     Comes Now, Plaintiff, Carter B. Edge, and files his Complaint

against the above-named Defendant on the following grounds:

                               INTRODUCTION

                                    1.

     This is an action for age discrimination and retaliation

pursuant to the Age Discrimination in Employment Act (“ADEA”),

codified at 29 U.S.C. § 621 et seq.

                               JURISDICTION

                                    2.

     The jurisdiction of this Court is invoked pursuant to 28

U.S.C. § 1331 and 28 U.S.C. § 1343.

                                    3.

     Defendant is a non-profit New Jersey corporation registered

to do business within the State of Georgia.
     Case 1:21-cv-04783-TWT-JSA Document 1 Filed 11/19/21 Page 2 of 9




                                   4.

     Defendant maintains its principal office at 3353 Peachtree

Road, N.E., Suite 600, North Tower, Atlanta, Fulton County, Georgia

30326.

                                   5.

     Defendant’s registered agent is C.T. Corporation System, with

its registered address at 289 S. Culver Street, Gwinnett County,

Lawrenceville, Georgia 30046-4805.

                                   6.

     This Court has personal jurisdiction over Defendant.

                                  VENUE

                                   7.

     Defendant operates and maintains its principal office within

the Atlanta Division of the Northern District of Georgia.

                                   8.

     Defendant’s   registered    agent    and   registered   address    are

within the Atlanta Division of the Northern District of Georgia.

                                   9.

     A substantial part of the events or omissions giving rise to

the claims alleged against Defendant herein occurred within the

Atlanta Division of the Northern District of Georgia.




                                   -2-
     Case 1:21-cv-04783-TWT-JSA Document 1 Filed 11/19/21 Page 3 of 9




                                   10.

     Venue in this district is proper for Defendant pursuant to 28

U.S.C. § 1391(b-c).

                              THE PARTIES

                                   11.

     The Plaintiff is a fifty-three (53) year old male who resides

in Elbert County, Georgia.

                                   12.

     The Plaintiff was formerly employed as a Senior Engineer with

Defendant.

                                   13.

     Defendant is an international regulatory authority with the

mission of providing effective and efficient reduction of risks to

the reliability and security of the power grid in North America,

including within the State of Georgia.

                                   14.

     Defendant may be served with summons and process by service

upon its registered agent, C.T. Corporation System, 289 S. Culver

Street, Gwinnett County, Lawrenceville, Georgia 30046-4805.




                                   -3-
     Case 1:21-cv-04783-TWT-JSA Document 1 Filed 11/19/21 Page 4 of 9




                                   FACTS

                                      15.

     On   or   about   January   1,    2017,    the      Plaintiff   began   his

employment with Defendant as a Senior Engineer.

                                      16.

     On or about March 12, 2021, the Plaintiff was informed by his

Steven    Noess   (approximately      43    years   of    age),   Director   of

Regulatory Programs, that his employment was being terminated due

to a “reduction in force” (“RIF”).

                                      17.

     In implementing its RIF, the Defendant grouped three (3)

employees as Senior Engineer RA and Certification.

                                      18.

     The three (3) employees were the Plaintiff (age 52 at the

time of the RIF), Robert Kenyon (age 74 at the time of the RIF),

and, Clayton Calhoun (age 42 at the time of the RIF).

                                      19.

     In implementing the RIF, the Defendant did not rely upon

objective criteria.

                                      20.

     In implementing the RIF, the Defendant deviated from its RIF

criteria.




                                      -4-
     Case 1:21-cv-04783-TWT-JSA Document 1 Filed 11/19/21 Page 5 of 9




                                   21.

     In implementing the RIF, the Defendant terminated the oldest

two (2) employees in the group, and retained the substantially

younger employee.

                                   22.

     In   implementing     the    RIF,    the   Defendant     transferred

substantially    younger     employees,     such    as    Ryan    Stewart

(approximately thirty-four (34) years of age), in order not to RIF

substantially younger employees.

                                   23.

     In implementing the RIF, the Defendant did not allow the

Plaintiff to transfer to other open positions.

                                   24.

     In implementing the RIF, the Defendant did not allow Kenyon

to transfer to other open positions.

                                   25.

     Defendant terminated the Plaintiff for pretextually motivated

reasons for the purpose of retaining and hiring substantially

younger employees.

                                   26.

     The reasons for the Plaintiff’s termination are false and a

pretext for age discrimination.




                                   -5-
     Case 1:21-cv-04783-TWT-JSA Document 1 Filed 11/19/21 Page 6 of 9




                                   27.

     The Plaintiff has been treated differently than similarly-

situated employees in the terms and conditions of his employment

because of his age.

                                   28.

     Defendant has engaged in illegal discrimination against the

Plaintiff because of his age.

                COUNT ONE: ADEA – AGE DISCRIMINATION

                                   29.

     Plaintiff incorporates herein paragraphs 1 through 28 of his

Complaint.

                                   30.

     Defendant has engaged in intentional age discrimination in

the terms and conditions of the Plaintiff’s employment, including,

but not limited to, his termination.

                                   31.

     Defendant’s conduct violates the ADEA.

                                   32.

     On August 9, 2021, the Plaintiff filed a timely Charge of

Discrimination alleging age discrimination with the United States

Equal Employment Opportunity Commission (“EEOC”).            (A true and

accurate copy of EEOC Charge of Discrimination #410-2021-04063 is

attached hereto as Exhibit A)


                                   -6-
       Case 1:21-cv-04783-TWT-JSA Document 1 Filed 11/19/21 Page 7 of 9




                                     33.

       On or about August 27, 2021, the Plaintiff received his

“Notice Of Suit Rights” letter from the EEOC for his Charge of

Discrimination.     (A true and accurate copy of the EEOC “Notice of

Suit Rights” letter for EEOC Charge of Discrimination #410-2021-

04063 is attached hereto as Exhibit B)

                                     34.

       The Plaintiff has filed this action under Title VII within

ninety (90) days after receipt of his “Notice Of Suit Rights”

letter from the EEOC.

                                     35.

       The Plaintiff has satisfied all statutory prerequisites for

filing this action.

                                     36.

       Defendant’s discriminatory conduct, in violation of the ADEA,

has caused the Plaintiff to suffer a loss of pay, benefits, and

prestige.

                                     37.

       Defendant’s actions have not been grounded in good faith and

have   not   been   based   upon   reasonable    grounds,   entitling     the

Plaintiff to liquidated damages under 29 U.S.C. § 260.




                                     -7-
Case 1:21-cv-04783-TWT-JSA Document 1 Filed 11/19/21 Page 8 of 9




                      PRAYER FOR RELIEF

                              38.

Wherefore, Plaintiff prays for a judgment as follows:

1. That the Court order Defendant to reinstate him and all

  benefits, including, but not limited to, his bonuses and

  410(K) contributions;

2. That the Court grant full front pay to the Plaintiff;

3. That the Court grant full back pay to the Plaintiff;

4. That the Court grant Plaintiff all employment benefits he

  would have enjoyed had he not been discriminated against;

5. That the Court grant Plaintiff liquidated damages under

  the ADEA;

6. That the Court grant Plaintiff expenses of litigation,

  including reasonable attorneys’ fees, pursuant to the ADEA

  and/or 42 U.S.C. § 1988;

7. That the Court grant Plaintiff a jury trial;

8. That the Court grant Plaintiff all other relief the Court

  deems just and proper; and

9. That the Court grant temporary, preliminary, and permanent

  injunctive relief prohibiting Defendant from engaging in

  further discriminatory conduct.




                              -8-
Case 1:21-cv-04783-TWT-JSA Document 1 Filed 11/19/21 Page 9 of 9




Respectfully submitted this 19th day of November 2021.

                           THE REDDY LAW FIRM, P.C.

                           /s/K. Prabhaker Reddy
                           K. PRABHAKER REDDY
                           Attorney at Law
                           Georgia Bar No. 597320
                           1325 Satellite Boulevard
                           Suite 1506
                           Suwanee, Georgia 30024
                           Telephone: (678) 629-3246
                           Facsimile: (678) 629-3247
                           Email: kpr@reddylaw.net




                              -9-
